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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY


 DARRYL STEWARD, JR.,

       Plaintiff,                                   Case No. 3:17-cv-426-JHM

 v.

 EXPERIAN INFORMATION SOLUTIONS, INC. et al.,

      Defendants.
 __________________________________________________________________

           STIPULATION AND ORDER FOR DISMISSAL
  OF DEFENDANTS EXPERIAN INFORMATION SOLUTIONS, INC. AND
        NAVIENT SOLUTIONS, LLC ONLY, WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Darryl Steward, Jr. (“Plaintiff”)

 and Defendants Experian Information Solutions, Inc. (“Experian”) and Navient

 Solutions, LLC (“Navient”) hereby jointly stipulate and agree that Plaintiff hereby

 dismisses, with prejudice, his claims asserted against Experian and Navient in the

 above-styled action, with the parties to bear their own attorney’s fees, costs and

 expenses.

 /s/Richard P. Gabelman                         /s/ Stephen J. Miller
 Richard P. Gabelman                          Stephen J. Miller
 Attorney for Plaintiff                       Attorney for Defendant Experian
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 /s/Brian D. Roth
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 ORDER FOR DISMISSAL OF EXPERIAN INFORMATION SOLUTIONS,
  INC., AND NAVIENT SOLUTIONS, LLC, ONLY, WITH PREJUDICE

       The Court having received the parties’ Stipulation, and being otherwise fully

 advised in the premises,

       IT IS HEREBY ORDERED that Defendants Experian Information Solutions,

 Inc. And Navient Solutions, LLC, only, shall be dismissed with prejudice and

 without costs or attorney fees awarded to either party.

                                        ___________________________________
                                        U.S. District Court Judge




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